Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 1 of 6




             Exhibit
               4
Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 2 of 6
Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 3 of 6




                            0140
Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 4 of 6




                            0141
Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 5 of 6




                            0142
Case 1:24-cv-00977-EGS Document 6-5 Filed 07/15/24 Page 6 of 6




                            0143
